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 5   Attorney for Defendant MARK SCHENA

 6

 7                               UNITED STATES DISTRICT COURT
 8                            NORTHERN DISTRICT OF CALIFORNIA
 9

10   SECURITIES AND EXCHANGE                      CASE NO. 5:20‐cv‐06717‐EJD
     COMMISSION,
11                                                NOTICE OF MOTION AND MOTION TO
           Plaintiff,                             WITHDRAW AS COUNSEL OF RECORD
12
     v.                                           Date:         January 25, 2024
13                                                Time:         9:00 a.m.
     MARK SCHENA,                                 Location:     Courtroom 4, 5th Floor
14                                                Judge:        Honorable Edward J. Davila
           Defendant.
15                                                [Filed concurrently with Declaration of Todd Pickles
                                                  in Support of Motion; and [Proposed] Order]
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 1          TO THIS HONORABLE COURT AND TO THE PARTIES AND THEIR COUNSEL OF

 2   RECORD:

 3          PLEASE TAKE NOTICE THAT on Thursday, January 25, 2024 at 9:00 a.m., before the United

 4   States District Court for the Northern District of California, in Courtroom 4, 5th Floor, 280 South 1st Street,

 5   San Jose, CA 95113, the Honorable Edward J. Davila presiding, or as soon thereafter as may be heard,

 6   including by remote access, the undersigned and the law firm of Greenberg Traurig LLP will and hereby

 7   do move to withdraw as counsel of record for Defendant Mark Schena. The motion is based upon this

 8   notice of motion, the memorandum in support of the motion, a copy of which has been submitted under

 9   seal, the declaration of Todd Pickles, a copy of which is submitted under seal, all records of this Court and

10   matters of which this Court may take judicial notice, and any argument as permitted by the Court.

11          A copy of this motion is being served upon Mr. Schena through email and mail service.

12                                                          Respectfully submitted,

13   DATED: December 18, 2023                               GREENBERG TRAURIG, LLP

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                                                       By: /s/Todd A.Pickles
15                                                        Todd A. Pickles
                                                          Attorney For Defendant MARK SCHENA
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 1             MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO

 2                                   WITHDRAW AS COUNSEL OF RECORD

 3   I.        INTRODUCTION

 4             The undersigned of the firm of Greenberg Traurig represented Mr. Schena in this matter in order to

 5   facilitate the entry of a stay of this civil matter pending resolution of the related criminal case United States

 6   v. Schena, 4:20-cr-00425 EJG. A stay was entered and remains in effect. Unfortunately, Mr. Schena lacks

 7   sufficient funds to pay for the costs and fees for services previously provided and to be provided by

 8   Greenberg Traurig associated with the above-captioned action, including past costs and fees incurred to

 9   date. Therefore, including pursuant to California Rule of Professional Conduct 1.16, the undersigned and

10   Greenberg Traurig (collectively “Greenberg”) seek to withdraw as counsel. Moreover, there has been no

11   activity in this case as it has remained stayed since after Greenberg entered its appearance. Mr. Schena has

12   not yet answered and no scheduling order was enter. As such, allowing Greenberg to withdraw as this

13   stage will not impact the schedule or cause appreciable delay to resolution of the case. Overall, due to the

14   current situation, Greenberg can no longer represent Mr. Schena in this action.

15   II.       FACTS RELEVANT TO MOTION

16             In or around June 2020, Mr. Schena has arrested on a criminal complaint filed in 5:20-mj-70721-

17   MAG. (Declaration of Todd Pickles (“Pickles Decl.”), ¶ 3.) Mr. Schena retained the undersigned of

18   Greenberg to represent him in the matter and the undersigned entered an appearance as Mr. Schena’s

19   criminal counsel and began to represent him in that case. (Id., ¶¶ 3-4.)

20             Thereafter, the Securities and Exchange Commission (“SEC”) filed the complaint in the above-

21   number action on or about on or about September 24, 2020. (Id., ¶ 5.) This matter was deemed related to

22   the criminal case. (Id.) In or around March 2021, Mr. Schena accepted service of the complaint. (Id., ¶ 6.)

23             During and after this time,

24                                                                                                         (Id., ¶ 7.)

25   Accordingly, in or around April 2021, Mr. Schena signed an addendum to the engagement letter with

26   Greenberg whereby he retained Greenberg to represent him in this matter. (Id., ¶ 8.) In the engagement

27   letter,

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 1                           (Id.)

 2          As the Court is aware, Greenberg represented Mr. Schena through the trial in the criminal matter,

 3   and then filed post-trial motions for judgment of acquittal and for a new trial. (Id., ¶ 9.) Thereafter,

 4   Greenberg represented Mr. Schena throughout sentencing and filed a notice of appeal on his behalf. (Id.,

 5   ¶¶ 9-10.) Unfortunately, due to Mr. Schena’s economic situation, he was unable to pay for all of the costs

 6   and fees for services incurred during the trial itself, and thereafter did not pay for any of the costs and fees

 7   for services relating to any of the post-trial litigation, including through sentencing. (Id., ¶ 11.) Mr. Schena

 8   has also not paid Greenberg for any costs or fees incurred in the SEC case since after the say was entered

 9   in April 2021. (Id.) Based upon Mr. Schena’s present economic circumstances, there also unfortunately

10   is no realistic prospect that he will be able to pay Greenberg the amounts he was obligated to pay it under

11   the parties’ engagement agreement or to be able to pay future costs and fees. (Id., ¶ 12.)

12          Greenberg decided to represent Mr. Schena through conclusion of the criminal matter in district

13   court, including to avoid causing delay in connection with a motion to withdraw in that case, despite the

14   absence of payment for services and costs. (Id., ¶ 13.) Nonetheless,

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                                                                                    1
16                                                                                      (Id., ¶ 14).

17            Greenberg did engage in some short-lived settlement discussion with SEC but those were

18   unsuccessful. (Id., ¶ 15.) Thereafter,

19                                                            (Id.)

20          To date, the only substantive actions that have occurred in this matter are that Mr. Schena accepted

21   service of the complaint, Greenberg entered its appearance, and the Court, upon stipulation of the parties,

22   entered a stay of this case pending further order of the Court. (Id., ¶ 17.) Mr. Schena has not filed an

23   answer or any responsive pleading and no scheduling order has issued. (Id.) The SEC has not filed any

24   dispositive motions. (Id.)

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28    Greenberg filed a notice of appeal on Mr. Schena’s behalf and thereafter moved to be relieved as
     counsel. The Ninth Circuit granted the motion and Mr. Schena has been appointed appellate counsel.
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 1   III.     LEGAL STANDARD

 2            “The decision to grant or deny counsel’s motion to withdraw is committed to the discretion of the

 3   trial court.” Irwin v. Mascott, No. C 97-4737 JL, 2004 U.S. Dist. LEXIS 28264, at *3 (N.D. Cal. Dec. 1,

 4   2004) (citing Wash. v. Sherwin Real Estate, Inc., 694 F.2d 1081, 1087 (7th Cir. 1982)). Factors courts may

 5   consider include “(1) the reasons why withdrawal is sought; (2) the prejudice withdrawal may cause to

 6   other litigants; (3) the harm withdrawal might cause to the administration of justice; and (4) the degree to

 7   which withdrawal will delay the resolution of the case.” Id. (citations omitted).

 8   IV.      COURT SHOULD PERMIT GREENBERG TO WITHDRAW AS COUNSEL

 9            “An attorney may seek to withdraw his or her representation for the non-payment of fees.”

10   Cummings v. Worktap, Inc., No. C 17-6246 SBA, 2018 U.S. Dist. LEXIS 246550, at *4 (N.D. Cal. Oct.

11   10, 2018) (citing Moss Landing Comm’l Park LLC v. Kaiser Aluminum Corp., No. 07-cv-06072-RMW,

12   2009 U.S. Dist. LEXIS 25772, 2009 WL 764873, at *1 (N.D. Cal. Mar. 19, 2009) (“The court applies

13   California’s Rules of Professional Conduct to determine whether withdrawal is proper. Pursuant to such

14   rules, an attorney may seek to withdraw if the client ‘breaches an agreement or obligation to the member

15   as to expenses or fees.’”) (quoting former Cal. Rule of Prof. Conduct 3-700(C)(1)(f))2); see also FTC v.

16   Fed. Loan Modification Law Ctr., LLP, No. SACV 09-00401-CJC(MLGx), 2009 U.S. Dist. LEXIS

17   135554, at *3 (C.D. Cal. Aug. 11, 2009) (“A client’s refusal to pay attorneys’ fees or expenses may be

18   sufficient grounds for a court to grant a motion to withdraw.”) (citing Denney v. City of Berkeley, 2004 WL

19   2648293, 2004 WL 2648293, at *3 (N.D. Cal. Nov. 18, 2004); Darby v. Torrance, 810 F. Supp. 275, 276

20   (C.D. Cal. 1992)); Schwarzer, Tashima, et al., Cal. Practice Guide: Federal Civil Procedure Before Trial

21   (The Rutter Group 2013) § 12:192, at 12-66.4 (noting that “[f]ederal courts generally look to applicable

22   state rules of professional conduct”); id. § 12:193, at 12-66.4 (“The client’s failure to pay agreed-upon

23   attorney fees may be ground for an attorney to withdraw.”). Here, due to Mr. Schena’s unfortunate present

24   financial circumstances, he has not been able to pay for the fees incurred by Greenberg, both in connection

25   with the criminal matter and this matter and will not realistically be able to pay for the fees incurred.

26   (Pickles Decl., ¶¶ 11-12.) This non-payment of fees, which is a breach of a material term of the parties’

27   engagement agreement, is a valid basis for withdrawal. See Cummings, 2018 U.S. Dist. LEXIS 246550, at

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         The current version of that rule is Rule 1.16(b)(5) of the California Rules of Professional Conduct.
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 1   *4 (granting motion to withdraw where, inter alia, firm not paid fees); Fed. Loan Modification Law Ctr.,

 2   2009 U.S. Dist. LEXIS 135554, at *3 (same).

 3           Further, the withdrawal will not prejudice any other litigants nor the administration of justice or

 4   otherwise cause an unwarranted delay. As noted, the case has been stayed since Greenberg made its

 5   appearance, which was before Mr. Schena filed an answer or responsive pleading. (Pickles Decl., ¶ 17.)

 6   The stay remains pending, and the Court should continue the stay through at least the resultion of this

 7   motion if not through the appeal in Mr. Schena’s criminal case, which would be the most efficient manner

 8   to protect Mr. Schena’s interests. Regardless, no scheduling order as been entered and there are no motions

 9   pending. (Pickles Decl., ¶ 17.) As such, allowing Greenberg to withdraw will not prejudice the SEC nor

10   affect the administration of this case.

11           Lastly, Greenberg has fully complied with its ethical obligations under California Rule of

12   Professional Conduct 1.16(b), which provides that a “lawyer may withdraw from representing a client if

13   … the client breaches a material term of an agreement with, or obligation, to the lawyer relating to the

14   representation, and the lawyer has given the client a reasonable warning after the breach the lawyer will

15   withdraw unless the client fulfills the agreement or performs the obligation.” Cal.R. Prof. Conduct

16   1.16(b)(5). Further, “a lawyer shall not terminate a representation until the lawyer has taken reasonable

17   steps to avoid reasonably foreseeable prejudice to the rights of the client, such as giving the client sufficient

18   notice to permit the client to retain other counsel, and complying with paragraph (e).” Id., Rule 1.16(d).

19   Paragraph (e), in turn, provides for the release of the client’s records upon request and the return of retainer

20   for fees not yet earned or incurred. Id., Rule 1.16(e).

21           In this case,

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23                                      (Pickles Decl., ¶¶ 14-16.)

24                                                                              (Id., ¶ 16.)

25                                                                                                               (Id.)

26   Lastly, Greenberg has taken this action as soon as potential settlement discussions ended but while the case

27   has been stayed to avoid any prejudice to Mr. Schena, or any other party or the Court. It has also served

28   Mr. Schena an unredacted copy of this motion and supporting declaration.

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 1          Greenberg regrets that it must take the present step. Nonetheless, for the reasons explained above,

 2   the undersigned and the firm must respectfully take the necessary action of seeking permission to withdraw

 3   as Mr. Schena’s counsel of record in this matter.

 4   V.     CONCLUSION

 5          For the reasons stated above, the Court should permit Todd Pickles and the firm of Greenberg

 6   Traurig LLP to withdraw as counsel of record.

 7                                                       Respectfully submitted,

 8   DATED: December 18, 2023                            GREENBERG TRAURIG, LLP

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                                                     By: /s/Todd A. Pickles
10                                                      Todd A. Pickles
                                                        Attorney For Defendant MARK SCHENA
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